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11
12                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
13
                                       OAKLAND DIVISION
14
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. 4:07-cv-5944-JST
15   ANTITRUST LITIGATION
                                                     MDL No. 1917
16
                                                     NOTICE OF RENEWED MOTION,
17   This Document Relates to:                       RENEWED MOTION, AND MEMORANDUM
                                                     IN SUPPORT OF RENEWED MOTION TO
18   All Indirect-Purchaser Actions                  INTERVENE AND FILE SEVERED
                                                     COMPLAINT TO ADD STATE LAW CLAIMS
19                                                   FOR THE OTHER REPEALER STATES1

20                                                   Hearing Date: February 12, 2020
                                                     Time:         2:00 p.m.
21                                                   Courtroom: 6, 2nd Floor
                                                     Judge:        Hon. Jon S. Tigar
22
23
24   1
       The initialism “ORS” originally stood for “omitted repealer states” and was used in reference to
     the fact that the nine states had been omitted from the damages subclasses in the original settlement.
25   In these remand proceedings, that initialism is no longer apt. However, in the interest of coherence,
     we will continue to use “ORS” to signify “other repealer states,” referring to the former “omitted
26   repealer states.”
27
28       NOTICE OF RENEWED MOTION, RENEWED MOTION, AND MEMORANDUM IN SUPPORT OF MOTION
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 1                                 NOTICE OF MOTION AND MOTION

 2   TO ALL PARTIES AND THEIR ATTORNEYS:

 3             PLEASE TAKE NOTICE that on February 12, 2020, at 2:00 p.m., before the Honorable Jon

 4   S. Tigar, United States District Court for the Northern District of California, 1301 Clay Street,

 5   Courtroom 6, 2nd Floor, Oakland, CA 94612, Nikki Crawley, Steven Harrelson, and William
     Trentham (Arkansas); Scott Caldwell, as administrator of the estate of Barbara Caldwell, Warren
 6
     Cutlip,      Harry    Garavanian,      Anthony      Gianasca,      Hope      Hitchcock,      and     Gary
 7
     Talewsky (Massachusetts); Mina Ashkannejhad, Mike Bratcher and Robert Stephenson (Missouri);
 8
     Jay Erickson, John Heenan, Donald Oelze, and Mark Wissinger (Montana); Jeff Craig, Chris
 9
     Seufert, George Maglaras, and Jeff Schapira (New Hampshire); D. Bruce Johnson and Walker,
10
     Warren & Watkins, LLC. (Oregon); Susan LaPage, Donna Muccino, and Kerry Murphy (Rhode
11
     Island); Jeff Johnson and Felecia Blackwood (South Carolina); and Tyler Ayres (Utah) (collectively,
12
     the “ORS Plaintiffs”), by and through undersigned counsel, will move, pursuant to Federal Rule of
13
     Civil Procedure 24 and Federal Rule of Civil Procedure 15(a)(2) for an order granting them leave
14   (i) to intervene as plaintiffs and putative class representatives of the other repealer states; and (ii) to
15   file a severed complaint to add state-law claims on behalf of the indirect purchasers in those states.
16   The ORS Plaintiffs’ proposed severed complaint is attached as Exhibit A. A redline version of the
17   ORS Plaintiffs’ proposed severed complaint is attached as Exhibit B, which largely tracks IPPs’
18   Fifth Amended Consolidated Complaint and identifies all substantive changes.
19             This renewed motion is based on this notice, the accompanying memorandum of points and

20   authorities in support of the motion, all other pleadings and papers filed in this action, and such

21   additional evidence or argument that may be presented at the hearing.

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                                                         ii
28    NOTICE OF RENEWED MOTION, RENEWED MOTION, AND MEMORANDUM IN SUPPORT OF MOTION
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                            MEMORANDUM OF POINTS AND AUTHORITIES
 1
                                        PROCEDURAL HISTORY
 2
         I.      Recent Proceedings
 3
              Through their efforts during the appeal to justify releasing the Other Repealer State (ORS)
 4
     claims for no consideration, IPP Counsel fully revealed their conflict of interest between those
 5
     states and the repealer states for which counsel sought damages. (Dkt. 5362 at 2).2 Once the case
 6
     was remanded, it was imperative to remedy that conflict before further litigation ensued.
 7
     Accordingly, the Court entered an order setting a case management conference, making clear that
 8
     the “adequacy of Lead Counsel’s representation of plaintiffs in the Omitted Repealer States” would
 9
     be at issue. (Dkt. 5386 at 2).
10
              In their case management statement, IPP Counsel said that “appointment of separate
11
     counsel for [Massachusetts, Missouri, and New Hampshire] would be an appropriate first step” in
12
     the remand proceedings. (Dkt. 5416 at 7). The Defendants acknowledged that appointment of
13
     separate counsel could be necessary (id. at 13), as did counsel for the ORS plaintiffs. (Id. at 21).3
14
     The Court agreed, stating at the case management conference that it “intend[ed] to appoint separate
15
     counsel for the omitted repealer states,” noting that “[e]veryone seems to agree that’s a good thing
16
     to do.” (Dkt. 5444 at 4).
17
              At the next hearing, on June 6, 2019, the Court announced a tentative ruling that it could
18
     not yet appoint then-proposed ORS Counsel for each of the nine ORS unless and until proposed
19
     ORS Counsel identified class representatives from each of those states. (Dkt. 5505 at 12-13)
20
21
     2
       Nineteen objectors filed objections to IPPs’ proposed settlements and fee request, resulting in
22   eleven appeals following settlement approval. Several of the appeals were consolidated in the
     Ninth Circuit. See Case No. 16-16368, Dkt. 41 (9th Cir. Jan. 26, 2017).
23
     3
      The Defendants argued that only the three ORS that had objectors in the earlier appeal should be
24
     allowed to pursue claims on remand. (Dkt. 5468 at 8). The Court rejected that argument because,
25   as it explained, class settlement approval is binary—a settlement agreement must either be
     approved or disapproved in its entirety—and courts cannot rewrite settlement terms by fiat. (Dkt.
26   5499 at 11). Thus, the Court was not at liberty to salvage only the part of the settlement that the
     settling parties wished to retain, while leaving the three ORS to fend for themselves.
27
                                                       1
28   NOTICE OF RENEWED MOTION, RENEWED MOTION, AND MEMORANDUM IN SUPPORT OF MOTION
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     (“There is, however, an additional impediment to the appointment of counsel in the six new states;
 1
     that is, proposed interim class counsel has not identified class representatives.”). The Defendants
 2
     agreed with that statement of the law. (Dkt. 5505 at 21). Accordingly, on June 14, 2019, notices
 3
     of appearance were filed for class-member plaintiffs from each of the nine ORS. (Dkt. 5507).
 4
               On July 3, 2019, the Court entered an order appointing interim lead counsel for both the
 5
     nine ORS and the non-repealer states (NRS), as replacement counsel for IPP Counsel. (Dkt. 5518).
 6
     At that point the ORS had no functioning class representatives because IPP Counsel (and thus their
 7
     clients) were no longer acting to represent the ORS. For the ORS to have adequate representation,
 8
     the proposed ORS class representatives would need to formally intervene and file a complaint
 9
     alleging the ORS state law claims. But before doing so, there was an administrative hurdle to be
10
     cleared: one of the ORS, Massachusetts, has a requirement that plaintiffs must serve pre-claim
11
     notice on prospective defendants of a Massachusetts repealer claim at least 30 days before filing
12
     that claim. (Mass. Gen. Laws Ann. ch. 93A, § 9). Once the Court appointed interim lead counsel
13
     for the ORS, this notice was expeditiously served on each of the Defendants for the Scarpulla and
14
     Moore Massachusetts plaintiffs.4 (Ex. C). The 30-day period from last-perfected service ran on
15
     or about August 21, 2019. (Ex. C).
16
               The parties accordingly agreed that the deadline for moving to intervene and for leave to
17
     file the ORS state law claims would be August 23, 2019. (Dkt. 5559 at 13-14). The ORS motion
18
     was filed then, and it sought to amend the consolidated class complaint that had always asserted
19
     federal claims on their behalf (Dkt. 5567). The Court found the “motion may ‘provide[] enough
20
     information to state a claim and for the court to grant intervention,’” but denied it without
21
     prejudice—requiring “the ORS Movants ‘to file a separate pleading to fully apprise defendant[s]
22
     and the court of the basis for its claims in intervention.’” (Dkt. 5628 at 2-3) (quotation omitted).
23
24
25   4
         Mr. Bonsigniore served his clients’ notices earlier, between June 15 and June 20, 2019. (Ex. D).
26
27                                                     2
28   NOTICE OF RENEWED MOTION, RENEWED MOTION, AND MEMORANDUM IN SUPPORT OF MOTION
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     The Court explained there was no legal authority for the ORS Movants to directly amend the
 1
     complaint and that “‘[i]n a complex multi-party case such as this one, a separate pleading will assist
 2
     the court in policing the parameters of the case in intervention.’” Id. (quotation omitted).5
 3
                                            ARGUMENT
 4   I.     The ORS Plaintiffs Satisfy the Requirements for Intervention as a Matter of Right
 5          Federal Rule of Civil Procedure 24(a)(2) governs intervention as a matter of right.
 6   “‘Members of a class have a right to intervene if their interests are not adequately represented by
 7   existing parties.’” Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 594 (2013) (quoting NEWBERG
 8   ON CLASS ACTIONS § 16:7, p. 154 (4th ed. 2002)); see also WRIGHT & MILLER, 7B FED. PRAC. &

 9   PROC. § 1799 (3d ed. 2019) (“Intervention in a Rule 23 action thus is directly related to the
10   importance of assuring that the class is adequately represented and of enabling class members on
11   the outside of the litigation to function as effective watchdogs to make certain that the action is
12   fully and fairly conducted.” (footnote omitted)); Diaz v. Trust Territory of Pac. Islands, 876 F.2d
13   1401, 1405 n.1 (9th Cir. 1989) (“[A] member of a class should have the right to intervene in a class
14   action if he can show the inadequacy of the representation of his interest by the representative
15   parties before the court.”).
16          An applicant for intervention under Rule 24(a) must establish four elements:
17          (1) that the prospective intervenor's motion is “timely”; (2) that the would-be
18          intervenor has “a ‘significantly protectable’ interest relating to ... the subject of the
            action,” (3) that the intervenor is “so situated that the disposition of the action may
19          as a practical matter impair or impede [the intervenor's] ability to protect that
            interest”; and (4) that such interest is “inadequately represented by the parties to the
20          action.”
21
22
     5
       Although the Court noted, based on IPPs’ representation, that the ORS Plaintiffs had apparently
23   violated Local Rule 5-1(i)(3) by filing their proposed complaint without an attestation that each
     signatory had concurred in the filing, the ORS proposed complaint did not in fact include Mr.
24   Alioto as a signatory; his name simply was included, without a signature line, in the list of counsel
     to recognize his position as Lead Counsel for IPPs. The only signatories to the proposed
25   complaint—which was filed as an exhibit rather than a standalone filing—were ORS and NRS
     Counsel. In the attached proposed complaint, the ORS Plaintiffs have excised Mr. Alioto’s name
26   and his clients.

27                                                     3
28   NOTICE OF RENEWED MOTION, RENEWED MOTION, AND MEMORANDUM IN SUPPORT OF MOTION
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     Smith v. Los Angeles Unified Sch. Dist., 830 F.3d 843, 853 (9th Cir. 2016) (quoting Freedom from
 1
     Religion Found., Inc. v. Geithner, 644 F.3d 836, 841 (9th Cir. 2011)). Courts in this district and
 2
     around     the   country    have    stated,   however,    that   “[i]n   the   class   action    context,
 3
     the second and third prongs of the Rule 24(a)(2) inquiry are satisfied by the very nature of Rule 23
 4
     representative litigation.” Miller v. Ghirardelli Chocolate Co., C 12-04936 LB, 2013 WL
 5
     6776191, at *8 (N.D. Cal. Dec. 20, 2013) (quoting In re Cmty. Bank of N. Virginia, 418 F.3d 277,
 6
     314 (3rd Cir. 2005)).
 7
              “In evaluating motions to intervene, ‘courts are guided primarily by practical and equitable
 8
     considerations, and the requirements for intervention are broadly interpreted in favor of
 9
     intervention.’” Nat. Res. Def. Council v. McCarthy, 16-CV-02184-JST, 2016 WL 6520170, at *3
10
     (N.D. Cal. Nov. 3, 2016) (quoting United States v. Alisal Water Corp., 370 F.3d 915, 919 (9th Cir.
11
     2004)). Thus, when evaluating a motion to intervene, courts should draw “all inferences in favor
12
     of granting the motion,” Barnhart v. FasTax Inc., No. 6:14-CV-00482-MC, 2016 WL 7971240, at
13
     *3 (D. Or. May 4, 2016), and “[c]ourts are to take all well-pleaded, nonconclusory allegations in
14
     the motion to intervene, the proposed complaint or answer in intervention, and declarations
15
     supporting the motion as true absent sham, frivolity or other objections.” Nat. Res. Def. Council,
16
     2016 WL 6520170 at *3 (quoting Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 820 (9th
17
     Cir. 2001)).
18
              A.      Timeliness
19
              “Timeliness is a flexible concept; its determination is left to the district court’s discretion.”
20
     United States v. Alisal Water Corp., 370 F.3d 915, 921 (9th Cir. 2004) (citing Dilks v. Aloha
21
     Airlines, 642 F.2d 1155, 1156 (9th Cir. 1981)). As with the overall intervention inquiry, a court’s
22
     analysis of the timeliness element should be founded in pragmatism. See Shenzhenshi Haitiecheng
23
     Sci. & Tech. Co., Ltd. v. Rearden LLC, 15-CV-00797-JST, 2016 WL 5930289, at *6 (N.D. Cal.
24
     Oct. 11, 2016) (courts have adopted a “nuanced, pragmatic approach” to timeliness)
25
     (quoting League of United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1303 (9th Cir. 1997)).
26
27                                                       4
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             “Courts weigh three factors in determining whether a motion to intervene is timely: ‘(1)
 1
     the stage of the proceeding at which an applicant seeks to intervene; (2) the prejudice to other
 2
     parties; and (3) the reason for and length of the delay.’” U.S. v. Alisal Water Corp., 370 F.3d 915,
 3
     921 (9th Cir. 2004) (quoting Cal. Dep't of Toxic Subst. Ctrl. v. Comm. Realty Proj , 309 F.3d 1113,
 4
     1119 (9th Cir.2002)). Courts should also “bear in mind that the timeliness requirement for
 5
     intervention as of right should be treated more leniently than for permissive intervention because
 6
     of the likelihood of more serious harm.” U.S. v. State of Ore., 745 F.2d 550, 552 (9th Cir. 1984).
 7
             i.      Stage of the Proceedings
 8
             “Where a change of circumstances occurs, and that change is the ‘major reason’ for the
 9
     motion to intervene, the stage of proceedings factor should be analyzed by reference to the change
10
     in circumstances, and not the commencement of the litigation.” Smith v. Los Angeles Unified Sch.
11
     Dist., 830 F.3d 843, 854 (9th Cir. 2016); see also California Dep't of Toxic Substances Control v.
12
     Commercial Realty Projects, Inc., 309 F.3d 1113, 1120 (9th Cir. 2002) (“[T]he length of time that
13
     has passed since a suit was filed is not, in and of itself, determinative of timeliness.”); United States
14
     v. Alisal Water Corp., 370 F.3d 915, 921 (9th Cir. 2004) (same).
15
             In this case, the catalyst for ORS Plaintiffs’ motion to intervene was a recent change in
16
     circumstances: the post-remand agreement by all parties and the Court that IPP Counsel should be
17
     replaced for the ORS. As the Court explained in its tentative ruling at the June 6, 2019 hearing,
18
     new putative class counsel for the ORS could not be appointed unless and until they had their own
19
     clients for each of the nine ORS (a position the Defendants echoed). (Dkt. 5499 at 12, 21).
20
             IPP Counsel’s post-remand termination as counsel for the ORS is a material, recent change
21
     in circumstances. Nothing of substance has occurred with regard to the ORS since that change,
22
     except for the 30-day Massachusetts notice. Thus, the stage-of-proceedings prong weighs in favor
23
     of intervention. See Smith v. Marsh, 194 F.3d 1045, 1052 (9th Cir. 1999) (“The crucial date for
24
     assessing the timeliness of a motion to intervene is when proposed intervenors should have been
25
     aware that their interests would not be adequately protected by the existing parties.”); see also
26
27                                                      5
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     Smith, 830 F.3d at 854 (holding that intervention was timely where movant sought to intervene
 1
     “approximately twenty years after [the case’s] commencement” where a late-stage “systematic
 2
     change in circumstances” altered the proceedings and intervenors moved diligently after such
 3
     change); Mountain Top Condo. Ass'n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 369 (3d
 4
     Cir. 1995) (“While four years had elapsed before the Seipels filed their motion to intervene, the
 5
     critical inquiry is: what proceedings of substance on the merits have occurred?”).
 6
            ii.     Prejudice to Other Parties
 7
            Prejudice to the existing parties is “the most important consideration in deciding whether
 8
     a motion for intervention is untimely.” United States v. State of Oregon, 745 F.2d 550, 552–53
 9
     (9th Cir. 1984) (quoting 7C FED. PRAC. & PROC. CIV. § 1916 (1972)). The Ninth Circuit has
10
     repeatedly emphasized, however, “that the only ‘prejudice’ that is relevant under this factor is that
11
     which flows from a prospective intervenor’s failure to intervene after he knew, or reasonably
12
     should have known, that his interests were not being adequately represented—and not from the
13
     fact that including another party in the case might make resolution more ‘difficult[ ].’” Smith, 830
14
     F.3d at 857 (quoting State of Oregon, 745 F.2d at 552–53). No prejudice exists here.
15
            The ORS Plaintiffs (and their counsel) have moved expeditiously and consistently with the
16
     Court’s case management orders to do everything necessary to formally assert the ORS Plaintiffs’
17
     claims. No substantive action directed toward resolving the merits of the substantive issues has
18
     occurred in this case since the remand. Rather, the Court and the parties have been addressing
19
     procedural issues that stood in the way of remedying IPP Counsel’s prior conflict of interest and
20
     allowing this case to proceed to resolution. No prejudicial delay has befallen the Defendants as a
21
     result of the timing of this motion to intervene.
22
            From its inception, this case has continuously asserted federal antitrust claims based on a
23
     uniform and industry-wide price-fixing conspiracy, seeking declaratory and injunctive relief on
24
     behalf of indirect purchasers in all 50 states. The same conduct, transactions, and occurrences
25
     relied on in support of those federal claims support the supplemental state law damages claims in
26
27                                                       6
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     all repealer states, including the ORS. The same factual basis for those claims was thus already
 1
     being litigated by virtue of the ORS’ inclusion in the nationwide federal claim class (as well as the
 2
     state-law claims for the 22 repealer states included in the settlement). Indeed, assuming the case
 3
     was properly prepared for trial, there will be minimal (if any) need for further liability discovery
 4
     in this case: the facts and evidence are the same for the ORS as they are for the 22 included repealer
 5
     states. As the Defendants acknowledged in their opposition to the motion to set trial in this case:
 6
             IPPs in the 22 States, the ORS Subclass, and the NRS Subclass make the same basic
 7
             antitrust allegations: that Defendants and various co-conspirators participated in a
 8           global conspiracy to fix the prices of CRTs, resulting in U.S. consumers paying
             higher prices for TVs and computer monitors containing CRTs. . . . Accordingly,
 9           in both trials the evidence would be overwhelmingly devoted to (1) demonstrating
             that all of the alleged conspirator manufacturers participated in the conspiracy, and
10           (2) showing, through expert testimony, that the conspiracy resulted in overcharges
11           on CRTs that were passed on to end-user consumers.
     (Dkt. 5525 at 6) (footnote omitted). “It is very likely that much of the same evidence presented in
12
     a potential 22 States trial would have to be presented again in the subsequent trial for the New
13
     States.” (Id. at 8).
14
             No party will be prejudiced by the ORS Plaintiffs’ intervention.
15
             iii.     Reason for the Length of the Delay
16
           The Ninth Circuit has emphasized that “[t]he crucial date for assessing the timeliness of a
17
     motion to intervene is when proposed intervenors should have been aware that their interests would
18
     not be adequately protected by the existing parties.” Smith, 194 F.3d at 1052. Although ORS
19
     objectors challenged the adequacy of IPP Counsel’s representation of the ORS during the initial
20
     settlement approval proceedings (Dkt. 4436, 4440), the Court overruled those objections (Dkt.
21
     4712), and entered judgment approving the settlement (Dkt. 4717). Because the case was then on
22
     appeal to the Ninth Circuit, there was no purposeful reason to move to intervene until the case was
23
     remanded, jurisdiction was returned to this Court, and the Court concluded, based on IPP
24
     Counsel’s conflict of interest, that it “intend[ed] to appoint separate counsel for the omitted
25
     repealer states,” noting that “[e]veryone seems to agree that’s a good thing to do.” (Dkt. 5444 at
26
27                                                     7
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     4). Counsel has since moved expeditiously to prepare the ORS Plaintiffs’ case, including moving
 1
     to be formally appointed as co-lead counsel; filing appearances for each of the ORS Plaintiffs;
 2
     moving to vacate IPP Counsel’s potentially-problematic 2010 stipulation; and acting to satisfy the
 3
     notice requirements necessary to formally assert Massachusetts-law claims on behalf of a subset
 4
     of the ORS. The Court set an agreed briefing schedule for intervention and amendment, and, with
 5
     the filing of this motion, the ORS Plaintiffs have complied with that timeline. In short, ORS
 6
     Plaintiffs have done everything in their power to move this case forward since the Ninth Circuit’s
 7
     remand and have filed their motion to intervene without undue delay.
 8
            B.      Protectable Interest
 9
             “An applicant has a ‘significant protectable interest’ in an action if (1) it asserts an interest
10
     that is protected under some law, and (2) there is a ‘relationship’ between its legally protected
11
     interest and the plaintiff’s claims.” Donnelly v. Glickman, 159 F.3d 405, 409 (9th Cir. 1998);
12
     accord California ex rel. Lockyer v. United States, 450 F.3d 436, 441 (9th Cir. 2006). “Although
13
     the intervenor cannot rely on an interest that is wholly remote and speculative, the intervention
14
     may be based on an interest that is contingent upon the outcome of the litigation.” City of
15
     Emeryville v. Robinson, 621 F.3d 1251, 1259 (9th Cir. 2010) (quoting United States v. Union Elec.
16
     Co., 64 F.3d 1152, 1162 (8th Cir.1995)).
17
            As noted above, this case has always asserted federal antitrust class action claims on behalf
18
     of persons in all 50 states, including the ORS. The ORS Plaintiffs are class members, and they are
19
     entitled to adequate representation. They should be permitted to intervene. See Tech. Training
20
     Assocs., Inc. v. Buccaneers Ltd. P'ship, 874 F.3d 692, 696 (11th Cir. 2017) (holding that
21
     protectable interest prong was satisfied where the movants “have an interest in this case because,
22
     as class members, they will be bound by the terms of the settlement if it is approved and judgment
23
     is entered”); see also WRIGHT & MILLER, FEDERAL PRACTICE & PROCEDURE § 1908.1 (3d ed.)
24
     (explaining with respect to the protectable interest prong that it “surely is sufficient also if the
25
     judgment will have a binding effect on the would-be intervenor.”).
26
27                                                      8
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            C.      Practical Impairment
 1
            Rule 24(a) next requires that the party seeking as-of-right intervention be “so situated that
 2
     disposing of the action may as a practical matter impair or impede the movant’s ability to protect
 3
     its interest.” The Ninth Circuit has followed the advisory committee’s notes in holding that “[i]f
 4
     an absentee would be substantially affected in a practical sense by the determination made in an
 5
     action, he should, as a general rule, be entitled to intervene.” Sw. Ctr. for Biological Diversity v.
 6
     Berg, 268 F.3d 810, 822 (9th Cir. 2001); see also In re Cmty. Bank of N. Virginia, 418 F.3d 277,
 7
     314 (3d Cir. 2005) (“In the class action context, the second and third prongs of the Rule
 8
     24(a)(2) inquiry are satisfied by the very nature of Rule 23 representative litigation.”).
 9
            The ORS Plaintiffs are already members of the nationwide class that was certified for
10
     settlement and, as of the filing of this motion, remains certified. Their state-law damages claims
11
     were to be released without compensation in the prior settlement. As it stands, that settlement has
12
     not yet been vacated, putting their rights at risk. See In re Bear Stearns Cos., Inc. Sec., Derivative,
13
     & ERISA Litig., 297 F.R.D. 90, 97 (S.D.N.Y. 2013) (“as a member of the certified Settlement
14
     Class, Cancan has an ‘interest relating to the property or transaction that is the subject of the
15
     action.’ If the Court were to decline to [grant its motion to] intervene, Cancan's interest would be
16
     extinguished for no compensation, which would eliminate Cancan's ability to protect its interest.”).
17
            Assuming the settlement will be vacated or modified to remove the release, the ORS
18
     Plaintiffs and the other putative ORS class members are entitled to adequate representation for
19
     their long-pending federal claims and the state-law claims that the IPPs tried to release; however,
20
     appropriate representation will not occur without new and adequate class representatives – i.e.,
21
     the ORS Plaintiffs. (Ex. A). Without intervention, their ability to pursue the federal and state-
22
     law claims—including asserting the relation-back doctrine—on behalf of themselves and the other
23
     ORS class members would, as a practical matter, be impaired or impeded.
24
25
26
27                                                     9
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            D.      Inadequate Representation
 1
            “The burden of showing inadequacy of representation is ‘minimal’ and satisfied if the
 2
     applicant can demonstrate that representation of its interests ‘may be’ inadequate.” Citizens for
 3
     Balanced Use v. Montana Wilderness Ass'n, 647 F.3d 893, 898 (9th Cir. 2011) (quoting Arakaki
 4
     v. Cayetano, 324 F.3d 1078, 1086 (9th Cir. 2003)). “In evaluating adequacy of representation, we
 5
     examine three factors: ‘(1) whether the interest of a present party is such that it will undoubtedly
 6
     make all of a proposed intervenor's arguments; (2) whether the present party is capable and willing
 7
     to make such arguments; and (3) whether a proposed intervenor would offer any necessary
 8
     elements to the proceeding that other parties would neglect.’ ” Id. The most important factor is
 9
     “how the interest compares with the interests of existing parties.” L.A. Taxi Coop., Inc. v. Uber
10
     Techs., Inc., 15-CV-01257-JST, 2015 WL 5071949, at *3 (N.D. Cal. Aug. 27, 2015).
11
            The existence of inadequate representation is almost irrefutable. As the Court stated at the
12
     April 9, 2019 case management conference, the parties were in agreement on this point:
13
            Unless somebody says otherwise this morning, my guess is I don’t need to actually
14
            make a finding of a conflict.
15
            There seems to be an agreement among the parties that there’s an adequacy of
16          counsel issue which is different but also sufficient to require the appointment of
            separate counsel. So for a variety of reasons, I don’t feel the need to issue an order
17          saying that anybody had a conflict of interest.
18   (Dkt. 5444 at 15).
19          IPP Counsel represents a class of individuals with interests diametrically opposed to the
20   ORS Plaintiffs. Although the Court did not conclude that it was necessary to issue an order finding
21   such a conflict, no party ever disputed post-remand that such a conflict exists or that separate
22   counsel needed to be appointed for the ORS. Indeed, all agreed, as memorialized by the Court,
23   that appointing separate counsel for the subclasses was necessary. See (Dkt. 5444 at 19) (“The
24   motion [for appointment of counsel] regarding the omitted repealer states does not need to make
25
26
27                                                   10
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     [the case for separating that subclass and appointing separate counsel] because everybody
 1
     agrees.”).6
 2
     II.    The ORS Plaintiffs Satisfy the Requirements for Permissive Intervention
 3
            Federal Rule of Civil Procedure 24(b)(1) provides for permissive intervention at the
 4
     court's discretion where the potential intervenor “has a claim or defense that shares with the main
 5
     action a common question of law or fact.” Permissive intervention “requires (1) an independent
 6
     ground for jurisdiction; (2) a timely motion; and (3) a common question of law and fact between
 7
     the movant’s claim or defense and the main action.” Freedom from Religion Found., 644 F.3d at
 8
     843 (quoting Beckman Indus., Inc. v. Int'l Ins. Co., 966 F.3d 470, 473 (9th Cir. 1992)).
 9
             “In exercising its discretion, the court must consider whether the intervention will unduly
10
     delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3). “[T]he
11
     court may also consider other factors in the exercise of its discretion, including ‘the nature and
12
     extent of the intervenors’ interest’ and ‘whether the intervenors’ interests are adequately
13
     represented by other parties.” Perry, 587 F.3d at 955 (quoting Spangler v. Pasadena City Bd. of
14
     Educ., 552 F.2d 1326, 1329 (9th Cir. 1977)). Courts are more amenable to permissive intervention
15
     when no additional issues are added to the case, when the intervenor’s claims are “virtually
16
     identical” to class claims, and when intervention would strengthen the adequacy of the
17
     representation. NEWBERG ON CLASS ACTIONS § 9:36 (5th ed. 2018).
18
            Given that jurisdiction is not contested (the ORS Plaintiffs are actual class members and
19
     will be putative class members even if the new settlement removes them from the settlement class)
20
     and timeliness is dealt with above, we will address only whether a common question of law and
21
22
23   6
       Even before the case was remanded, IPP Counsel partially conceded that they could not
24   adequately represent the ORS Plaintiffs once their conflict became all-too apparent, stating in their
     Ninth Circuit post-oral argument motion for remand that this Court would need to “[a]ppoint
25   separate counsel for class members from the [ORS] to represent them with respect to notice and
     the amended plan of distribution” in order to grant them the relief they sought. (Appeal No. 16-
26   16373, Dkt. 244-1 at 2 (emphasis added)).
27                                                    11
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     fact exists between the ORS Plaintiffs’ claims and the claims made in the ongoing case. The
 1
     answer is “yes.”
 2
             Since the federal price-fixing and conspiracy claims asserted in the original pleading
 3
     remain pending as to all 50 states, and since the damages claims in the ORS arise out of the same
 4
     conduct, transaction, or occurrences set out in the original complaint (and every complaint since
 5
     then), the ORS Plaintiffs’ claims are sufficiently related to the named plaintiffs’ claims so as to
 6
     justify permissive intervention. Not only are their claims virtually identical to the class claims,
 7
     they have always been either putative or actual class members, and the Court has never denied
 8
     class certification as to the ORS. Given that no party will be prejudiced by intervention, (supra at
 9
     6-7), the Court should allow the ORS Plaintiffs to intervene in this action even if they were not
10
     able to do so as of right.
11
     III.    The ORS Plaintiffs Should Be Granted Leave to File a Severed Complaint
12           Amending the Prior Allegations to Add State Law Claims
13
             Under Federal Rule of Civil Procedure 15(a)(2), a “court should freely give leave
14           [to amend] when justice so requires.” The Court considers five factors in deciding
             a motion for leave to amend: bad faith, undue delay, prejudice to the opposing party,
15           futility of amendment, and whether the plaintiff has previously amended his
             complaint. The rule is “to be applied with extreme liberality.” Generally, a court
16           should determine whether to grant leave indulging “all inferences in favor of
17           granting the motion.” “Courts may decline to grant leave to amend only if there is
             strong evidence of ‘undue delay, bad faith or dilatory motive on the part of the
18           movant, repeated failure to cure deficiencies by amendments previously allowed,
             undue prejudice to the opposing party ..., [or] futility of amendment, etc.’ ”
19
     Henderson v. Muniz, 14-CV-01857-JST, 2018 WL 6331008, at *2 (N.D. Cal. Dec. 4, 2018)
20
     (quoting Fed. R. Civ. P. 15(a)(2); and In re W. States Wholesale Natural Gas Antitrust Litig., 715
21
     F.3d 716, 738 (9th Cir. 2013); and quoting, in order, Eminence Capital, LLC v. Aspeon, Inc., 316
22
     F.3d 1048, 1051 (9th Cir. 2003) (quoting Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708,
23
     712 (9th Cir. 2001)); Griggs v. Pace Am. Grp., Inc., 170 F.3d 877, 880 (9th Cir. 1999); and Sonoma
24
     Cnty. Ass'n of Retired Emps. v. Sonoma Cnty., 708 F.3d 1109, 1117 (9th Cir. 2013)
25
     (quoting Foman v. Davis, 371 U.S. 178, 182 (1962))). “Not all factors carry the same weight,” and
26
27                                                    12
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     prejudice to the opposing party “is the touchstone of the inquiry.” Eminence Capital, 316 F.3d at
 1
     1052.
 2
             A.     Proposed Additional Causes of Action
 3
             The ORS Plaintiffs seek leave from the Court to file a severed complaint to allege state-
 4
     law damages causes of action on behalf of the ORS indirect purchasers based on the same conduct
 5
     that supports the long-pending federal claims. The proposed severed complaint adds the ORS
 6
     Plaintiffs as named parties so that they may represent the putative ORS class members when
 7
     litigating their state and federal causes of action. The substantive changes to the allegations of the
 8
     Indirect Purchaser Plaintiffs’ Fifth Consolidated Amended Complaint are redlined in Exhibit B.
 9
             B.     The Addition of the State Law Causes of Action is not Made in Bad Faith
10
             Bad faith exists where “the plaintiff merely is seeking to prolong the litigation by adding
11
     new but baseless legal theories.” LiveCareer Ltd v. Su Jia Techs. Ltd., 14-CV-03336-JST, 2015
12
     WL 4089800, at *3 (N.D. Cal. July 2, 2015) (quoting Griggs v. Pace Am. Group, Inc., 170 F.3d
13
     877, 881 (9th Cir. 1999)). It is “[d]efendants’ burden at this stage of the litigation to defeat the
14
     presumption under Rule 15(a) in favor of granting leave to amend by making ‘a strong showing
15
     of’ bad faith . . . .” Martinez v. City of W. Sacramento, 2:16-CV-02566-TLN-EFB, 2019 WL
16
     469038, at *5 (E.D. Cal. Feb. 6, 2019).
17
             A defendant can satisfy its burden by pointing to “evidence in the record which would
18
     indicate a wrongful motive” on the part of the litigant requesting leave to amend. DCD Programs
19
     Ltd. v. Leighton, 833 F.2d 183, 187 (9th Cir. 1987); see also Wizards of the Coast LLC v.
20
     Cryptozoic Entm’t LLC, 309 F.R.D. 645, 651 (W.D. Wash. 2015) (“In the context of a motion for
21
     leave to amend, ‘bad faith’ means acting with intent to deceive, harass, mislead, delay, or disrupt.”
22
     (citing Leon v. IDX Sys. Corp., 464 F.3d 951, 961 (9th Cir. 2006))).
23
             There is no basis to argue that the ORS Plaintiffs are acting in bad faith by seeking
24
     amendment of the pleadings on their behalf to add the state law causes of action. The ORS
25
     Plaintiffs—who are already members of the certified nationwide federal injunctive relief class—
26
27                                                    13
28   NOTICE OF RENEWED MOTION, RENEWED MOTION, AND MEMORANDUM IN SUPPORT OF MOTION
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     seek to file their severed complaint and amend the allegations to assert state law damages causes
 1
     of action in addition to the long-pending federal claims alleged on behalf of the ORS. The
 2
     additional causes of action are based on the same conduct that forms the basis of the federal claims
 3
     that have been present in every complaint going back to the original complaint, as well as the basis
 4
     of the damages claims asserted on behalf of the 22 repealer states still actively represented by IPP
 5
     Counsel. These are the same ORS claims that the Defendants sought to have released. The claims
 6
     are not frivolous, and the ORS Plaintiffs are not acting in bad faith by seeking to assert them.
 7
            C.      There is No Undue Delay
 8
            In evaluating undue delay, the Court inquires “whether the moving party knew or should
 9
     have   known     the   facts   and   theories   raised   by   the   amendment     in   the   original
10
     pleading.” AmerisourceBergen Corp. v. Dialysist W., Inc., 465 F.3d 946, 953 (9th Cir. 2006)
11
     (quoting Jackson v. Bank of Haw., 902 F.2d 1385, 1388 (9th Cir. 1990)). “Undue delay by itself
12
     ... is insufficient to justify denying a motion to amend.” Bowles v. Reade, 198 F.3d 752, 758 (9th
13
     Cir. 1999) (alteration in original). Indeed, “[o]rdinarily, leave to amend pleadings should be
14
     granted regardless of the length of time of delay by the moving party absent a showing of bad faith
15
     by the moving party or prejudice to the opposing party.” Roberts v. Arizona Bd. of Regents, 661
16
     F.2d 796, 798 (9th Cir. 1981).
17
            As discussed above, it did not become apparent that the ORS Plaintiffs would have grounds
18
     to intervene in this case and prosecute their supplemental state-law causes of action until the case
19
     was remanded and IPP Class Counsel, the Defendants, and the Court agreed that IPP Counsel
20
     could no longer adequately represent the ORS’s interests and that new counsel would need to be
21
     appointed. From that juncture, the ORS Plaintiffs have moved quickly to do everything in their
22
     power to properly assert their claims.
23
24
25
26
27                                                    14
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             D.      There Would be No Prejudice to the Defendants
 1
             Prejudice is the factor that weighs most heavily in the analysis. Eminence Capital, 316 F.3d
 2
     at 1052. “The party opposing amendment bears the burden of showing prejudice.” DCD Programs
 3
     Ltd. v. Leighton, 833 F.2d 183, 187 (9th Cir. 1987) (citation omitted).
 4
             “Mere addition of new claims does not, in and of itself, establish prejudice sufficient to
 5
     support denial of leave to amend.” Johnson v. Serenity Transp., Inc., No. 15–cv–02004–JSC, 2015
 6
     WL 4913266, at *5 (N.D.Cal. Aug. 17, 2015); see also Dep't of Fair Emp't & Hous. v. Law Sch.
 7
     Admission Council, Inc., No. 12–cv–01830–EMC, 2013 WL 485830, at *5 (N.D.Cal. Feb. 6, 2013)
 8
     (“The burden of having to defend a new claim alone is not undue prejudice under Rule 15.”).
 9
     However, Defendants may demonstrate undue prejudice where new claims would “greatly alter[ ]
10
     the nature of the litigation and [ ] require [ ] defendants to [ ] undertake[ ], at a late hour, an entirely
11
     new course of defense.” Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th
12
     Cir.1990).
13
             Where “additional claims advance different legal theories and require proof of different
14
     facts,” courts have found prejudice to the non-moving party. See Jackson v. Bank of Hawaii, 902
15
     F.2d 1385, 1387 (9th Cir. 1990) (citations omitted). Additionally, “[a] need to reopen discovery
16
     and therefore delay the proceedings [also] supports a district court’s finding of prejudice from a
17
     delayed motion to amend the complaint.” Lockheed Martin Corp. v. Network Solutions, Inc., 194
18
     F.3d 980, 986 (9th Cir. 1999) (citation omitted); see also W. Shoshone Nat’l Council v. Molini, 951
19   F.2d 200, 204 (9th Cir. 1991) (finding prejudice where “the introduction of a major
20   new evidentiary issue at such a late stage in the litigation w[ould] require extensive additional
21   discovery”).
22           There is no such prejudice in this case. The original complaint and each ensuing complaint
23   alleged federal antitrust claims arising out of the defendants’ price-fixing conspiracy for persons
24   in all 50 states (Dkt. 437, 716, 827, 1526); the added ORS state-law claims, like the IPP Class
25   Counsel’s state-law claims, are based on the same conduct. (Dkt. 1526; Ex. A). The facts

26   underlying these claims thus have already been litigated by virtue of the ORS’ inclusion in the

27                                                       15
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     nationwide class. This reality is borne out by the fact that, assuming the case was properly
 1
     prepared for trial, there will be minimal, if any, need for further liability discovery in this case: the
 2
     facts and evidence needed to prove liability are the same for the federal claims and the
 3
     supplemental state-law damages claims.
 4
             Thus, given that the parties have been litigating the facts underlying the ORS’ claims from
 5
     the very beginning, the Defendants “need not radically change their litigation strategy in order to
 6
     accommodate the proposed [ ] claims.” Serpa v. SBC Telecomms., Inc., 318 F.Supp.2d 865, 872
 7
     (N.D. Cal. 2004). No substantial prejudice exists. See James, 2012 WL 4859069, at *2 (no
 8
     substantial prejudice where the amended complaint added similar claims and facts, and “the nature
 9
     of the litigation and the course of defense will not be substantially altered”); Serpa v. SBC
10
     Telecomms., Inc., 318 F.Supp.2d 865, 872 (N.D. Cal. 2004) (no substantial prejudice where
11
     “defendants need not radically change their litigation strategy in order to accommodate the
12
     proposed [ ] claims”).
13
             E.      Amendment Would Not be Futile
14
             As the Court made clear at the August 8, 2019, case management conference:
15
                     Denial of a motion for leave to amend on the ground of futility is
16                   rare, and Courts generally defer consideration of challenges to the
                     merits of a proposed amended pleading until after leave to amend[]
17                   is granted and the amended leave – excuse me, and the amended
18                   pleading is filed.
     (Dkt. 5559 at 8) (quoting Henderson v. Muniz, 14-CV-01857-JST, 2018 WL 6331008, at *3 (N.D.
19
     Cal. Dec. 4, 2018)).
20
             “‘The merits or facts of a controversy are not properly decided in a motion for leave to
21
     amend and should instead be attacked by a motion to dismiss for failure to state a claim or for
22
     summary judgment.’” Allen v. Bayshore Mall, No. 12–cv–02368–JST, 2013 WL 6441504, at *5
23
     (N.D.Cal. Dec. 9, 2013) (quoting McClurg v. Maricopa Cnty., No. 09–cv–01684–PHX, 2010 WL
24
     3885142, at *1 (D.Ariz. Sept. 30, 2010)). Under Rule 15(a), “[i]f the underlying facts or
25
26
27                                                      16
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     circumstances relied upon by a plaintiff may be a proper subject of relief, he ought to be afforded
 1
     an opportunity to test his claim on the merits.” Foman v. Davis, 371 U.S. 178, 182 (1962).
 2
             Nevertheless, the Defendants have made clear that they will raise futility as a ground to
 3
     deny amendment. See (Dkt. 5542 at 1) (“Defendants anticipate, however, in addition to opposing
 4
     intervention and leave to amend on the ground of delay, they will oppose amendment on the ground
 5
     of futility.”). While they did not flesh out their futility arguments in any detail, the Defendants
 6
     stated that “[a]mong other arguments, the [ORS Plaintiffs’] claims are time barred, and some of
 7
     the threatened claims, including claims that the ORS Plaintiffs may seek to assert against certain
 8
     Defendants on behalf of indirect purchasers in Oregon have already been released through
 9
     settlements with state attorneys general.” Id. at 1-2.
10
             Neither of the substantive issues raised by the Defendants should be resolved through a
11
     motion to amend the complaint. Such weighty issues should be decided through formal briefing.
12
     Nevertheless, given that we can anticipate the Defendants’ limitations argument, we will provide
13
     a primer on its inapplicability.
14
             There are several legal theories that could potentially immunize the ORS Plaintiffs’ claims
15
     from a statute of limitations challenge, including the relation-back doctrine, American Pipe tolling,
16
     equitable tolling, or even fraudulent concealment. Without delving into each of these potentially-
17
     applicable legal principles, we will—just to illustrate why timeliness should not be decided prior
18
     to formal briefing—provide an overview as to how the relation-back doctrine should thwart the
19
     Defendants’ statute of limitations challenge:
20
             The relation-back doctrine applies to amendments seeking to expand the scope of a class.
21
     Wilner v. Manpower, No. 11-cv-2846-JST, 2014 WL 2939732, at *4 (N.D. Cal. June 30, 2014).
22
     The Ninth Circuit has established a three-part test for when the doctrine applies to the addition of
23
     a plaintiff:
24
             An amendment adding a party plaintiff relates back to the date of the original
25           pleading only when: 1) the original complaint gave the defendant adequate notice
26           of the claims of the newly proposed plaintiff; 2) the relation back does not unfairly

27                                                    17
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            prejudice the defendant; and 3) there is an identity of interests between the original
            and newly proposed plaintiff.
 1
     Immigrant Assistance Project of L.A. Cnty. Fed'n of Labor (AFL-CIO) v. I.N.S., 306 F.3d 842, 857
 2
     (9th Cir. 2002) (quoting Rosenbaum v. Syntex Corp., 95 F.3d 922, 935 (9th Cir. 1996).
 3
            Within this test, “notice to the opposing party of the existence and involvement of the new
 4
     plaintiff is the critical element.” Avila v. I.N.S., 731 F.2d 616, 620 (9th Cir. 1984). For amendments
 5
     that seek to expand the scope of a putative class, the notice requirement is satisfied when “the
 6
     original complaint gave the defendant adequate notice of the claims of the newly proposed
 7
     plaintiff[.]” Syntex Corp., 95 F.3d at 935.
 8
            “Where ‘the new plaintiffs had always been a part of the putative class,’ notice is satisfied
 9
     ‘because Defendants had always known that all putative class members were potential
10
     plaintiffs.’” Allen v. Similasan Corp., 96 F. Supp. 3d 1063, 1069 (S.D. Cal. 2015) (quoting
11
     Willner, 2014 WL 2939732, at *5). This is especially true where the putative class members are
12
     seeking to intervene merely to expand their claims by adding a state-law claim on top of a
13
     nationwide claim that had already been asserted on their behalf.           See Zorrilla v. Carlson
14
     Restaurants Inc., 255 F. Supp. 3d 465, 477 (S.D.N.Y. 2017) (applying the same relation-back test
15
     as Syntex Corp. and concluding that an amendment adding new state law claims satisfied the
16
     “adequate notice” prong where the original complaint “brought a nationwide collective action
17
     premised on the allegation that [d]efendants apply the same employment policies, practices, and
18
     procedures” throughout the country).
19
            In True Health Chiropractic Inc. v. McKesson Corp., No. 13-CV-02219-JST, 2014 WL
20
     2860318, at *2 (N.D. Cal. June 23, 2014), the Court explained: “A defendant has received adequate
21
     notice if the definition of the putative class includes the proposed class representative or the new
22
     class representative’s claims are based upon the same or substantially similar underlying conduct.”
23
     Since the federal price-fixing and conspiracy claims asserted in the original pleading remain
24
     pending as to all 50 states, and since the supplemental damages claims in repealer states arise out
25
     of the same conduct, transaction, or occurrences set out in the original complaint (and every
26
27                                                    18
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     complaint since then), the Defendants had adequate notice of the ORS Plaintiffs’ supplemental
 1
     damages claims.
 2
            Since the factual basis underlying those state-law damages claims is the same as the 50-
 3
     state federal price-fixing and conspiracy class claims, relation back would not prejudice the
 4
     Defendants. See Besig v. Dolphin Boating & Swimming Club, 683 F.2d 1271, 1278 (9th Cir. 1982)
 5
     (“Relation back imposes no prejudice when an amendment restates a claim with no new facts.”);
 6
     Willner, 2014 WL 2939732, at *5 (“Because the factual nature of and the relief sought in
 7
     connection with the expanded claim is identical to that sought in all prior complaints, prejudice is
 8
     not present here.”); Castle v. Wells Fargo Fin., Inc., No. C 06-4347 SI, 2008 WL 2079192, at *2
 9
     (N.D. Cal. May 15, 2008) (no unfair prejudice where plaintiffs’ claim “depend[s] on the same
10
     conduct by defendant[ ] set forth in the original complaint, [and] defendant[ ] will not have to
11
     radically change litigation strategy to defend against th[is] additional plaintiff[ ].”). As noted supra
12
     at 7, the Defendants themselves acknowledge that “IPPs in the 22 States, the ORS Subclass, and
13
     the NRS Subclass make the same basic antitrust allegations: that Defendants and various co-
14
     conspirators participated in a global conspiracy to fix the prices of CRTs, resulting in U.S.
15
     consumers paying higher prices for TVs and computer monitors containing CRTs.” (Dkt. 5525 at
16
     6).
17
            Finally, relation back is appropriate because there is an identity of interests between the
18
     original plaintiffs and the ORS Plaintiffs. The identity-of-interests requirement is met if “the
19
     circumstances giving rise to the claim remain[ ] the same under the amended complaint as under
20
     the original complaint.” Immigrant Assistance Project, 306 F.3d at 858 (quoting Raynor Bros. v.
21
     Am. Cyanimid Co., 695 F.2d 382, 384 (9th Cir.1982)) (alterations and internal quotation marks
22
     omitted). As noted above, the indirect purchasers in the ORS have always been putative or actual
23
     class members in this case due to the federal claims asserted on their behalf, and all of the claims
24
     (including the state-law damages claims) arise from the same industry-wide price-fixing
25
     conspiracy.    Given that the same set of facts underlie each claim, the identity-of-interest
26
27                                                     19
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     requirement is satisfied. See Moreyra v. Fresenius Med. Care Holdings, Inc., No.
 1
     SACV1000517JVSRZX, 2012 WL 13014985, at *9 (C.D. Cal. Mar. 7, 2012) (holding that identity
 2
     of interest existed between original and proposed plaintiffs where defendants’ allegedly unlawful
 3
     “policies and practices ... are the subject of both complaints, and the factual allegations are virtually
 4
     indistinguishable”).
 5
             This analysis is not exhaustive. And other legal doctrines—in addition to the relation-back
 6
     doctrine—may be applicable. Nevertheless, this analysis illustrates that the Defendants’ statute
 7
     of limitations argument is not as simple as they might suggest, and that it should not be decided
 8
     prior to amendment and formal briefing.
 9
             F.      Previous Amendment
10
             In light of the unique nature of the ORS Plaintiffs’ amendment through their proposed
11
     severed complaint, the number of prior amendments should not weigh against amendment.
12
13                                              CONCLUSION
14           The Court should enter an order granting the ORS Plaintiffs’ motion to intervene and to
15   file an amended complaint.
16
     Dated: November 12, 2019                             Respectfully submitted,
17
18    /s/ Theresa D. Moore                                   /s/ Francis. O. Scarpulla
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19
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25                                                        for the ORS
26
27                                                      20
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13
                                   CERTIFICATE OF SERVICE
14
15          I hereby certify that a true copy of the foregoing was filed via CM/ECF on November 12,

16   2019 and as a result has been served on all counsel of record via transmission of Notices of

17   Electronic Filing generated by CM/ECF.

18                                                            /s/ John G. Crabtree

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